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Exhibit D

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Case 1-19-40024-cec Doc11-5 Filed 02/22/19 Entered 02/22/19 16:41:51

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
ORDER
MD A Kashem
Debtor(s). CASE #: 1-19-40024-cec
CHAPTER 7

 

ORDER PURSUANT TO 11 U.S.C. § 362(D) VACATING THE AUTOMATIC STAY
VACATING THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. §362(a)

Upon the Motion dated February 22, 2019, of Wells Fargo Bank, N.A. as servicing agent
for HSBC Bank USA, National Association as Trustee for Nomura Asset Acceptance Corporation,
Mortgage Pass-Through Certificates, Series 2005-AP3 ("Secured Creditor") for an order, pursuant
to section 362(d) of title 11 of the United States Code ("Bankruptcy Code") vacating the automatic
stay to allow the Secured Creditor enforcement of its rights in and remedies in and to 168-46 89th
Avenue, Jamaica, NY 11432 (the "Property"). This Court, having considered the evidence presented
an the arguments of the parties and with good cause appearing therefor; it is hereby

ORDERED that the automatic stay is hereby lifted and vacated pursuant to Bankruptcy
Code Section 362(d) to permit Secured Creditor to allow the Secured Creditor to exercise all rights
under applicable laws with respect to the property located at 168-46 89th Avenue, Jamaica, NY
11432; and it is further

ORDERED that the Chapter 7 Trustee shall be served with a copy of the Referee's Report
of Sale within thirty (30) days of the Report [if applicable], and shall be noticed with any surplus
monies realized from the sale of the Collateral; and it is further

ORDERED that if the case is converted to a case under any other chapter of the U.S.

Bankruptcy Code, this order will remain in full force and effect.

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